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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


KHARMONIQUE MATADOR, an individual,

       Plaintiff,

       v.                                            CASE NO. 6:17-cv-1361-Orl-40TBS

CENTENE MANAGEMENT COMPANY LLC,
a Wisconsin Limited Liability Company, and
SUNSHINE STATE HEALTH PLAN, INC.,
a Florida Corporation,

      Defendants.
_____________________________________________________/

                                  AMENDED COMPLAINT

       1.      Plaintiff, KHARMONIQUE MATADOR, a/k/a KHARMONIQUE HUBERT, is

an individual residing in Brevard County, Florida.

       2.      Plaintiff was an employee of Defendants, CENTENE MANAGEMENT

COMPANY LLC, a Wisconsin Limited Liability Company, and SUNSHINE STATE HEALTH

PLAN, INC., a Florida Corporation (collectively “Defendants”), and brings this action against

Defendants for unpaid overtime compensation, liquidated damages, and the costs and reasonable

attorneys’ fees of this action under the Fair Labor Standards Act (“FLSA”), as amended, 29 U.S.C.

§216(b).

       3.      At all times material to this Amended Complaint, Defendants have owned and

operated a Fortune-500 healthcare business with its corporate headquarters in St. Louis Missouri

and with operations in numerous States across the country—including but not necessarily limited

throughout the State of Florida—providing services to government-sponsored healthcare and

behavioral health and case management programs with a focus on underinsured and uninsured



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people who receive benefits through, for example, Medicaid and state-based programs.

        4.      At all times material to this Amended Complaint, Defendants, CENTENE

MANAGEMENT COMPANY LLC and SUNSHINE STATE HEALTH PLAN, INC., directly or

indirectly, acted in the interest of an employer toward Plaintiff, including without limitation

directly or indirectly controlling the terms of employment and compensation of Plaintiff.

Alternately, Defendants, CENTENE MANAGEMENT COMPANY LLC and SUNSHINE

STATE HEALTH PLAN, INC., and each of their respective divisions, subsidiaries or affiliates,

and parent entities, however constituted, were joint employers of Plaintiff because each, respective

division, subsidiary or affiliate acted directly or indirectly in the interest of the other in relation to

such Plaintiff. As a second alternative, Defendants, CENTENE MANAGEMENT COMPANY

LLC and SUNSHINE STATE HEALTH PLAN, INC., and each of their divisions, subsidiaries or

affiliates, and parent entities, however constituted, were joint employers of Plaintiff because they

commonly controlled the terms of compensation and employment of Plaintiff and because they are

not completely disassociated with respect to the terms of compensation and employment of

Plaintiff. As a final alternative, Defendants, CENTENE MANAGEMENT COMPANY LLC and

SUNSHINE STATE HEALTH PLAN, INC., and each of their divisions, subsidiaries or affiliates,

and parent entities, however constituted, directly or indirectly acted in the interest of an employer

toward Plaintiff at all material times to this Amended Complaint, including without limitation

directly or indirectly controlling the terms of employment and compensation of Plaintiff.

        5.      Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §1337.

        6.      The events, or a substantial part of the events, giving rise to this action, occurred

within the jurisdiction of the United States District Court for the Middle District of Florida,

Orlando Division.




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       7.      At all times material to this Amended Complaint, including but not necessarily

limited to during the years 2014, 2015, 2016, and 2017, Defendants, CENTENE MANAGEMENT

COMPANY LLC and SUNSHINE STATE HEALTH PLAN, INC., have had two (2) or more

employees who have regularly sold, handled, or otherwise worked on goods and/or materials that

had been moved in or produced for commerce. In this regard, Plaintiff alleges based upon

information and belief and subject to discovery, that at all times material to this Amended

Complaint, Defendants, CENTENE MANAGEMENT COMPANY LLC and SUNSHINE STATE

HEALTH PLAN, INC., have employed two (2) or more employees who, inter alia: (a) regularly

handled and worked on office equipment—including but not limited to computers,

photocopier/scanners, printers, telephones—that were goods and/or materials moved in or

produced for commerce; (b) regularly handled and worked with commercial office supplies—

including but not limited to paper, pens, and UPS, FedEx, and United States Postal Service

shipping materials—that were goods and/or materials moved in or produced for commerce; and

(c) regularly processed and participated in electronic bank, transfers, payroll, insurance, and other

financial transactions across Florida and other State lines throughout the United States including

but not limited to Missouri.

       8.      Based upon information and belief, the annual gross sales volume of Defendants,

CENTENE MANAGEMENT COMPANY LLC and SUNSHINE STATE HEALTH PLAN, INC.,

has been in excess of $500,000.00 per annum at all times material to this Amended Complaint,

including but not necessarily limited to during the years 2014, 2015, 2016, and 2017.

       9.      At all times material to this Amended Complaint, including but not necessarily

limited to during the years 2014, 2015, 2016, and 2017, Defendants, CENTENE MANAGEMENT

COMPANY LLC and SUNSHINE STATE HEALTH PLAN, INC., have constituted an enterprise




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engaged in interstate commerce or in the production of goods for commerce as defined by the

FLSA, 29 U.S.C. §203(s).

       10.     During the three (3) year statute of limitations period between approximately July

2014 and November 2016, Plaintiff’s primary duties for Defendants while in the position known

as “Case Manager” were non-exempt in nature, consisting of: (a) working with the Case

Management Care Plan assigned to her by Defendants; (b) visiting and calling patients to follow

up on their care and services; (c) assisting with the discharge of patients; and (d) completing daily

notes, reports, and related paperwork in accordance with Defendants’ protocols. Significantly,

however, throughout this time period, Plaintiff did not manage any department or subdivision of

Defendants or oversee or supervise two (2) or more other employees of Defendants, and Plaintiff’s

primary duties did not involve the exercise discretion and independent judgment with respect to

matters of significance in Defendants’ general business operations.

       11.     Throughout Plaintiff’s employment with Defendants within the three (3) year

statute of limitations period between approximately July 2014 and November 2016, Plaintiff

regularly worked in excess of Forty (40) hours per week for Defendants at multiple locations

including but not limited to in, inter alia, Maitland in Orange County as well as in Ocala in Marion

County and in Jacksonville in Duval County. More specifically, during numerous work weeks

throughout the three (3) year statute of limitations period between approximately July 2014 and

November 2016, Plaintiff regularly worked Five (5) days to (7) days per week for Defendants with

start times as early as 8:00 a.m. and stop times ranging between 5:00-7:00 p.m.—and with

frequently working during the evenings and on the weekend for Defendants.

       12.     However, despite the fact that Plaintiff regularly worked in excess of Forty (40)

hours per week for Defendants during numerous work weeks between approximately July 2014




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and November 2016, Defendants failed to pay Plaintiff time and one-half wages for all of

Plaintiff’s actual overtime hours worked as required by the Fair Labor Standards Act, as

Defendants misclassified Plaintiff and other Case Managers as exempt from the FLSA’s overtime

compensation requirements despite their primary duties being non-exempt in nature—until

approximately June 2016 when Defendants reclassified Plaintiff and other Case Managers were

from exempt to non-exempt consistent with the FLSA’s requirements.

       13.    Based upon Defendants paying Plaintiff average gross weekly wages of

approximately $893.08/week to $926.57/week and Ms. Matador being owed an average of

Twenty-Five (25) unpaid overtime hours per week during a total of approximately Seventy (70)

work weeks within the statute of limitations period between approximately July 2014 and May

2016, if Plaintiff’s unpaid overtime wages for this time period are found to be due and owing at

the half time rates of $6.87/hour [$893.08/week gross wages divided by 65 hours = $13.74/2 =

$6.87/hour] and $7.13/hour [$926.57/week gross wages divided by 65 hours = $14.25/2 =

$7.13/hour] respectively, Plaintiff’s unpaid overtime wages for this period total approximately

$12,344.18 [20 weeks claimed between approx. Jul. 19, 2014 – Dec. 31, 2014: $6.87/hour x 25

Unpaid OT hours/week x 20 weeks = $3,434.90)] + [36 weeks claimed between approx. Jan. 1,

2015 – approx. Oct. 16, 2015 & 14 weeks claimed between approx. Feb. 1, 2016 – May 31, 2016:

$7.13/hour x 25 Unpaid OT hours/week x 50 weeks = $8,909.28] = $12,344.18], whereas if

Plaintiff’s unpaid overtime hours are found to be due and owing at the rates of $34.57/hour and

$33.49/hour [($893.08/week gross wages divided by 40 hours = $23.16 x 1.5 = $34.75/hour)

($926.57/week gross wages divided by 40 hours = $22.33 x 1.5 = $33.49/hour], Plaintiff’s unpaid

overtime wages for this time period total approximately $60,177.89 [($33.49/hour x 25 Unpaid

OT hours/week x 20 weeks = $16,745.16) + ($34.57/hour x 25 Unpaid OT hours/week x 50 weeks




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= $43,432.73) = $60,177.89].

       14.     In addition, Plaintiff further alleges Defendants failed to pay her an average of

approximately Ten (10) overtime hours per week during a total of approximately Twenty (20)

weeks in which her hours were shorted between approximately June 2016 to November 2016 as a

result of “off the clock work” Plaintiff performed in the evenings and weekends in order to meet

Defendants’ deadlines, such that based on Plaintiff being owed Ten (10) unpaid overtime hours

per week from Defendants at an applicable overtime rate of $34.75/hour [$23.17/hour x 1.5] during

20 weeks within this time period, Plaintiff’s additional unpaid overtime wages total approximately

$6,950.00 [$34.75/hour x 10 Unpaid OT hours/week x 20 weeks = $6,950.00].

       15.     Based upon information and belief, Defendants failed to maintain records of the all

of the actual start times, stop times, number of hours worked each day, and total hours actually

worked each week by Plaintiff during each week of her employment with Defendants within the

three (3) year statute of limitations period between approximately July 2014 and November 2016

and September 2016 as required by the FLSA, 29 C.F.R. §516.2(a)(7).

       16.     Defendants had knowledge of the hours worked in excess of Forty (40) hours per

week by Plaintiff between July 2014 and November 2016, but Defendants nonetheless willfully

failed to compensate Plaintiff for the overtime hours she worked for Defendants, instead accepting

the benefits of the work performed by Plaintiff without the overtime compensation required by the

FLSA, 29 U.S.C. §207.

       17.     Based upon information and belief, the complete records reflecting the

compensation Defendants actually paid to Plaintiff each week between July 2014 and November

2016 are in the possession, custody, and/or control of Defendants.




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                               COUNT I
         OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

       18.     Plaintiff, KHARMONIQUE MATADOR, readopts and realleges the allegations

contained in Paragraphs 1 through 17 above.

       19.     Plaintiff is entitled to be paid time and one-half of her applicable regular rate of pay

for each hour worked for Defendants in excess of Forty (40) hours per work week within the three

(3) year statute of limitations period between approximately July 2014 and November 2016.

       20.     Defendants knowingly and willfully failed to pay Plaintiff at time and one-half of

her applicable regular rates of pay for all of her actual hours worked for Defendants in excess of

Forty (40) per week during the three (3) year statute of limitations period between approximately

July 2014 and November 2016.

       21.     At all times material to this Amended Complaint, Defendants had notice and

knowledge that their compensation practices did not provide Plaintiff with time and one-half wages

for all of her actual overtime hours worked between July 2014 and November 2016, based upon,

inter alia: (a) Defendants failing to maintain accurate time records of the actual start times, actual

stop times, and actual total hours worked each week by Plaintiff; and (b) Defendants failing to pay

time and one-half wages for all of the actual hours worked in excess of Forty (40) hours per week

by Plaintiff each week between approximately July 2014 and November 2016, including but not

necessarily limited to because of Defendants’ management having knowledge of the overtime

hours worked by Plaintiff.

       22.     Defendants did not have a good faith basis for their failure to pay time and one-half

wages for all of the actual hours worked by Plaintiff in one or more weeks during the three (3) year

statute of limitations period between approximately July 2014 and November 2016, as a result of

which Plaintiff is entitled to the recovery of liquidated damages from Defendants pursuant to 29



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U.S.C. §216(b).

       23.     By reason of the said intentional, willful and unlawful acts of Defendants, Plaintiff

has suffered damages plus incurring costs and reasonable attorneys’ fees.

       24.     Plaintiff has retained the undersigned counsel to represent her in this action, and

pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from Defendants all reasonable

attorneys’ fees and costs incurred as a result of Defendants’ violations of the FLSA.

       25.     Plaintiff demands a jury trial pursuant to the FLSA.

       WHEREFORE, Plaintiff, KHARMONIQUE MATADOR, demands judgment against

Defendants, jointly and severally, CENTENE MANAGEMENT COMPANY LLC and

SUNSHINE STATE HEALTH PLAN, INC., for the payment of all unpaid overtime

compensation, liquidated damages, reasonable attorneys’ fees and costs of suit, and for all proper

relief including prejudgment interest.

                                    JURY TRIAL DEMAND

       Plaintiff demands trial by jury on all issues so triable.


Dated: August 29, 2017                         Respectfully submitted,


                                         By:   s/KEITH M. STERN
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                                CERTIFICATE OF SERVICE

        I hereby certify that on August 29, 2017, I electronically filed the foregoing document with
the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served this
day on all counsel of record identified on the attached Service List in the manner specified, either
via transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
manner for those counsel or parties who are not authorized to receive electronically Notices of
Filing.

                                                     s/KEITH M. STERN
                                                     Keith M. Stern



                                      SERVICE LIST
              Kharmonique Matador v. Centene Management Company LLC
                             Case No: 6:17-cv-1361-Orl-40TBS
               United States District Court for the Middle District of Florida

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